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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

___________________________________
                                    :
KASHMIR GILL,                       :
                                    :                  Civil Action No.: 19-6742 (FLW)
                    Plaintiff,      :
                                    :                           AMENDED ORDER
   vs.                              :
                                    :
JUS BROADCASTING CORP., et al.,     :
                                    :
                  Defendants.       :
____________________________________:

        THIS MATTER having been opened to the Court by Michael Farhi, Esq., counsel for

Defendants Jus Broadcasting Corp.; Jus Punjabi LLC; Jus One Corp; and Jus Broadcasting Corp.

PVT. Ltd and Penny Sandhu (“Defendants”), on a Motion to dismiss Plaintiff Kashmir Gil’s

(“Plaintiff”) Complaint, pursuant to Federal Rules of Civil Procedure 12(b)(2) and(3); it appearing

that Plaintiff, through his counsel, Alan R. Ackerman, Esq., opposes the motion; it appearing that

this matter was previously scheduled for oral argument on July 10, 2019, however, counsel for

Defendants failed to appear and Plaintiff now seeks his attorney’s fees and costs in connection

with his counsel’s appearance at the prior scheduled time; it further appearing that, although this

Court possesses personal jurisdiction over Defendants Penny Sandhu and Jus Punjabi LLC, it lacks

personal jurisdiction over the remaining Defendants; it appearing that pursuant to 28 U.S.C. §

1631, the Court “shall, if it is in the interest of justice, transfer such action . . . to any other such

court . . . in which the action . . . could have been brought,”; it further appearing that this case

could have been brought in the Eastern District of New York as that Court clearly has general

personal jurisdiction over all Defendants, with the exception of Jus Broadcasting Corp. PVT Ltd.,

an Indian corporation that does no business in the United States, as Defendant Penny Sandhu

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resides in Nassau County, New York and the Defendant entities, are formed under the laws of the

State of New York and have their principle place of business in New York, see ECF No. 10-3,

Declaration of Penny K. Sandhu (“Sandhu Decl.”) ¶¶3,5; the Court having considered the

submissions of the parties and the arguments made by counsel during oral argument on July 19,

2019; for the reasons stated on the record and for good cause shown:

       IT IS on this 19th day of July 2019,

       ORDERED that Plaintiff’s application for Attorney’s fees [ECF No. 18] is GRANTED

       and Plaintiff is awarded attorney’s fees and costs in the amount of $1,800, to be paid by

       Defendant’s counsel, in connection with counsel’s failure to appear for oral argument on

       the prior scheduled date; and

       ORDERED that Defendant’s Motion to Dismiss [ECF No. 10] is DENIED; and it is

       further

       ORDERED that this matter is transferred to the United States District Court for the Eastern

       District of New York, in lieu of dismissal.

                                                                   /s/ Freda L. Wolfson
                                                                   Freda L. Wolfson
                                                                   U.S. Chief District Judge




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